Exhibit C

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IN RE:

JASON BRIAN VICKS,

Document Page 1 of 4

UNITED STATES BANKRUPTCY COURT wer Senkruptey Cou
WESTERN DISTRICT OF NORTH CAROLINA Stet of Nc
CHARLOTTE DIVISION JUL 2 1 2914

CASE NO. 14-30679

DEBTOR CHAPTER 13

MOTION IN OPPOSITION TO CFAM FINANCIAL SERVICES OBJECTION TO

CONFIRMATION OF CHAPTER 13 PLAN

COMES NOW, Jason Brian Vicks, debtor in the above-captioned case,

appearing pro-se, and opposes CFAM Financial Services objection to confirmation of
the Debtor's Chapter 13 Plan, on the following grounds:

1

2.

Debtor is a consumer as defined by NCGS 85-70-1.

Debtor financed a 2003 Hummer and obtained financing with Wells Fargo
Auto Loans on April 23, 2014.

I fell behind on my auto loan payments and Wells Fargo Auto Loans
discharged the debt and currently reports the debt as a discharged debt.
Upon information and belief, after the debt was discharged the loan was sold
to CFAM Financial Services.

Upon information and belief CFAM Financial Services is a debt buyer and at
the time of purchasing the debtors delinquent consumer debt, CFAM
Financial Services was an unpermitted debt buyer in the state of North
Carolina and collected payments from the NC debtor in this case.

Upon information and belief CFAM Financial is not entitled to a secured lien

on the vehicle because of its violations of NCGS 58-70-1.

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WHEREFORE, Debtor Jason Brian Vick prays the Court grant the following

relief:

1. Set this matter for hearing at a date and time Jater to be determined
by the Court; or

2. Require CFAM Financial Services remove the lien from VIN #
SGRGN23U23H120302.

3. Deny CFAM Financial, LLC’s objection to confirmation of Chapter 13
Plan.

4, Require that CFAM Financial Services return payments collected and

any such relief that the court deems proper.

This, the 17" day of July, 2014.

/sfjason B, Vicks

Jason B. Vicks (Pro-Se}
2002 Master Gunner Dr.
Indian Trail, NC 28079

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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
IN RE; )
)
JASON BRIAN VICKS, )
} CASE NO. 14-30679
DEBTOR } CHAPTER 13
)
)
)

NOTICE AND REQUEST FOR HEARING
TO CFAM FINANCIAL SERVICES, LLC, TRUSTEE, AND ALL PARTIES IN INTEREST

THIS NOITCE IS HEREBY GIVEN of the opposition of CFAM Financial
Services Objection to Confirmation of Plan, filed simultaneously herewith in the
above-captioned case, a copy of which is attached herein, and;

NOTICE 1S FURHTER GIVEN that a hearing will be conducted in the
Charlotte Division of the U.S. Bankruptcy Court Western District of North Carolina,
located 401 West Trade Street, Charlotte, North Carolina, 28202 on August 12, 2014,
at 9:30 AM.

This, the 17% day of July, 2014.

{sf/lason B. Vicks

Jason B. Vicks {Pro-Se)
2002 Master Gunner Dr.
Indian Trail, NC 28079

by s@gmail.com

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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
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DEBTOR ) CHAPTER 13
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CERTIFICATE OF SERVICE

The undersigned hereby certifies under penalty of perjury that
he/she is over eighteen (18) years and of age and that the OPPOSTION
TO THE OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN and
NOTICE OF AND REQUEST FOR HEARING, in the above captioned case
were this day served upon the below named persons by mailing,
postage prepaid, first class mail a copy of such instrument to each
person(s), parties, and/or counsel at the addresses shown below:

CFAM Financial Services, LLC
c/o Brock & Scott, PLLC
Attn: Brian Holley

5121 Parkway Plaza Blvd.
Suite 300

Charlotte, NC 28217

Warren L. Tadlock

4600 Park Road

Suite 101

Charlotte, NC 28209-0201

This, the 17% day of July, 2014.
{sf/fason B. Vicks
Jason B. Vicks (Pro-Se}

2002 Master Gunner Dr.
Indian Trail, NC 28079

jbvjg¢ks@gmail.com
s, B

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